IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ALASKA

CHARLES B. HENRY
COMPLAINANT

vs
STATE OF ALASKA PRO SE

RESPONDANT 42 U.S.C.S. 1983 CIV.

a a a a a aa

 

COMPLAINANT CHARLES B. HENRY FILE THIS LAWSUIT PURSUANT
TO THE 42 U.S.C.S. 1983, IN WHICH THE COMPLAINANTS RIGHTS UNDER
THE FOURTEENTH AMENDMENT AND THE FIFTH AMENDMENT WHICH PROTECTS

THE CIVIL RIGHTS OF THE UNITED STATES CITIZENS. THE U.S. CONST-

~ITUTIONAL AMENDMENT XIV, § 1 PROVIDES THAT NO STATE SHALL DE-
-PRIVE ANY PERSON OF LIFE, LIBERTY, OR PROPERTY WITHOUT THE DUE
PROCESS OF LAW. THI§ CLAUS IMPOSES PROCEEDURAL LIMITATIONS ON A
STATE"S POWER TO TAKE AWAY PROTECTED ENTITLEMENTS.

THE FEDERAL CIVIL RIGHTS STATUTE 42 U.S.C.S. g:1983 GIVES

A CAUSE OF ACTION TO THOSE WHO CHALLENGE A STATE DEPREVATION OF ANY

ALSOP ROAD

RIGHTS SECURED BY THE UNITED STATES CONSTITUTION. 28 U.S.C.S. 8 2254

ALLOWS A PRISONER TO SEEK A WRIT OF HABEAS CORPUS ON THE GROUND THAT

HE IS IN COSTODY IN VIOLATION OF THE UNITED STATES CONSTITUTION. THE

GOOSE CREEK CORRECTIONAL CENTER

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WASILLA, ALASKA 099623-

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UNITED STATES SUPREME COURT HAS RECOGNIZED THAT gs 1983 MUST BE READ

IN HARMONY WITH THE HABEAS STATUTE.

FEDERAL COURTS MAY UPSET A STATES POST-CONVICTION-RELIEF PRO-

~CEEDURES ONLY IF THEY ARE INADEQUATE TO VINDICATE THE SUBSTANTIVE

RIGHT PROVIDED. ALASKA PROVIDES A SUBSTANTIVE RIGHT TO BR RELEASED

ON A SUFFICENLY COMPELLING SHOWING OF NEW EVIDENCE THAT ESTABLISHES

INNOCENCE. IT EXCEPTS SUCH CLAIMS FROM OTHERWISE APPLICABLE TIME

LIMITS. THEasT41B-RROOGIETME)RDocument 1 Filed 11/02/18 Page 1 of 12

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DISCOVERY IN POST-CONVICTION-RELIEF PROCEEDING, AND HAS---THROUGH JUDICIAL DECT-
~SION---SPECIFIED THAT THIS DISCOVERY PROCEEDURE IS AVAILABLE TO THOSE SEEKING
ACCESS TO DNA EVIDENCE. THESE PROCEEDURES ARE NOT WITHOUT LIMITS. THE EVIDENCE
MUST INDEED BE NEWLY AVAILABLE TO QUALIFY UNDER ALASKA'S STATUE, MUST HAVE BEEN
DELIGENTLY PURSUED, AND MUST ALSO BE SUFFICIENTLY MATERIAL. THESE PROCEEDURES
ARE SIMILAR TO THOSE PROVIDED FOR DNA EVIDENCE BY THE FEDERAL LAW AND THE LAW
OF OTHER STATES, AND THEY ARE NOT CONSISTANT WITH THE TRADITIONS AND CONSCIENCE
OF THE AMERICAN PEOPLE OR ANY RECOGNIZED PRINCIPLE OF FUNDAMENTAL FAIRNESS .
FEDERAL COURTS SHOULD NOT PRESUME THAT STATE CRIMINAL PROCEEDURES WILL IN-
~ADEQUATE TO DEAL WITH TECHNOLOGICAL CHANGE. THE CRIMINAL JUSTICE SYSTEM HAS
HISTORICALLY ACCOMMODATED NEW TYPES OF EVIDENCE, AND IS A TIME TESTED MEANS OF
CARRYING OUT SOCIETY'S INTEREST IN CONVICTING THE GUILTY WHILE RESPECTING INDIV-
~IDUAL RIGHTS. THAT SYSTEM, LIKE ANY HUMAN ENDEAVOR, CANNOT BE PERFECT. DNA EVI-
-DENCE SHOWS THAT IT HAD NOT BEEN. BUT THERE IS NO BASIS FOR THE APPROACH OF AS-
-SUMING THAT BECAUSE DNA HAS SHOWN THAT THESE PROCEEDURES ARE NOT FLAWLESS, DNA
EVIDENCE MUST BE TREATED AS CATAGORICALLY OUTSIDE THE PROCESS, RATHER THAN WITH
IN IT. RESPONDANT STATE INMATE [OSBORNE] FILED AN ACTION UNDER 42 U.S.C.S. 8 1983
CLAIMING THAT HE HAD A CONSTITUTIONAL RIGHT TO HAVE ACCESS TO EVIDENCE THAT WAS
INTRODUCED AT HIS TRIAL SO HE CAN HAVE DNA TESTING CONDUCTED AT HIS OWN EXPENSE.
THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF ALASKA ORDERED PETIT-
~IONER DISTRICT ATTORNEY'S OFFICE TO GIVE THE INMATE ACCESS, AND THE UNITED STATES
COURT OF APPEALS FOR THE NINTH CIRCUIT AFFIRMED. PETITIONER SOUGHT FURTHER REVIEW,
_THE INMATE AND ANOTHER PERSON WERE CONVICTED OF KIDNAPPING, ASSAULT, AND
SEXUAL ASSAULT AFTER THE FORCED A PROSTITUTE TO PERFORM FELLATIO AND SEXUAL INT-
-ERCOURSE, AND CHOKING HER, BEAT HER, AND SHOT HER WHEN SHE TRIED TO FLEE. THE
INMATE SOUGHT POST-CONVICTION RELIEF IN AN ALASKA COURT, CLAIMING THAT HE RECEIVED
INEFFECTIVE-ASSISTANCE-OF-COUNSEL BECAUSE HIS COUNSEL DID NOT SEEK RESTRICTION-
~FRAGMENT-LENGTH-POLYMORPHISM DNA TESTING ON SPERM FOUND IN A CONDUM AT THE SCENE

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OF THE CRIME; HOWEVER, THE STATE DENIED RELIEF. AFTER THE STATE COURT DENTED
RELIEF, THE INMATE FILED AN ACTION IN FEDERAL DISTRICT COURT, SEEKING AN OR-
-DER REQUIRING AN ALASKA DISTRICT ATTORNEY'S OFFICE TO GIVE HIM ACCESS TO

EVIDENCE THAT WAS INTRODUCED AT HIS TRIAL SO HE COULD HAVE DNA TESTS CONDUCTED
AT HIS OWN EXPENSE. THE UNITED STATES SUPREME COURT HELD THAT THE COURT OF AP-

-PEALS ERRED WHEN IT FOUND THAT THE INMATE HAD A RIGHT UNDER THE DUE PROCESS
CLAUS OF THE FOURTEENTH AMENDMENT TO HAVE ACCESS TO DNA EVIDENCE POSTCONVICTION
WAS BEST LEFT TO CONGRESS AND STATE LEGISLATURES, AND THERE WAS NOTHING ADEQU-
~ATE ABOUT THE PROCEEDURES ALASKA PROVIDED TO INMATES. THE SUPREME COURT RE-
-VERSED THE COURT OF APPEALS JUDGMENT AND REMANDED THE CASE FOR FURTHER PRO-
~CEEDINGS. 5-4 DECISION;CONCURRING OPINION: 2 DISSENDTS.

THE FEDERAL CIVIL RIGHTS STATUTE, 42 U.S.C.S 1983, GIVES A CAUSE OF ACTION
TO THOSE WHO CHALLENGE A STATE'S DEPREVATION OF ANY RIGHTS SECURED BY THE UNITED
STATES CONSTITUTION. 28 U.S.C.S. 8 2254 ALLOWS A PRISONER TO SEEK A WRIT OF
HABEAS CORPUS ON THE GROUND THAT HE IS IN COSTODY IN VIOLATION OF THE CONSTI-
-TUTION.

THE UNITED STATES SUPREME COURT HAS RECOGNIZED THAT g§ 1983 MUST BE READ
IN HARMONY WITH THE HABEAS STATUTE.

FEDERAL COURTS MAY UPSET A STATE'S POST-CONVICTION-RELIEF PROCEEDURES
ONLY IF THEY ARE FUNDAMENTALLY INADEQUATE TO VINDICATE THE SUBSTANTIVE RIGHTS
PROVIDED.

THE NINTH CIRCUIT ERRED IN FINDING A DUE PROCESS VIOLATION. WHILE OSBORNE
DOES HAVE A LIBERTY INTEREST IN PURSUING THE POST CONVICTION RELIEF GRANTED
BY THE STATE, THE NINTH ERRED IN EXTENDING THE BRADY RIGHT OF PRE-TRIAL DIS~
-CLOSURE TO THE POST CONVICTION CONTEXT. OSBORNE HAS ALREADY BEEN FOUND GUILTY
AND THEREFORE HAS ONLY LIMITED LIBERTY INTEREST IN POST CONVICTION RELIEF.
SEE,E.G., HERRERA VS. COLLINS, 506 U.S.390, 399, 113 S.CT. 853, 122 L.ED. 2d
COnp ANUSTERD, CF FE ARADY, TNOWRY TH. QUESTION, TS, WHETHER CONSIDERATION OF

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OF OSBORNE"S CLAIM WITHIN THE FRAMEWORK OF THE STATE'S POST CONVICTION RELIEF
PROCEEDINGS "OFFEND SOME [FUNDAMENTAL] PRINCIPAL OF JUSTICE" OR TRANSGRESSES
ANY RECOGNIZED PRINCIPAL OF FUNDAMENTAL FAIRNESS IN OPERATION. MEDINA VS.
CALIFORNIA 505 U.S. 437,446, 448, 112 S.CT. 2572, 120 L.ED. 2d 353.

FEDERAL COURTS MAY UPSET A STATE'S POST-CONVICTION-RELIEF PROCEEDING ONLY
If THEY ARE FUNDAMENTALLY INADEQUATE TO VINDICATE THE SUBSTANTIVE RIGHTS PROVIDED ,

THERE IS NOTHING INADEQUATE ABOUT ALASKA'S POST-CONVICTION-RELIEF PROCEEDURES
IN GENERAL OR ITS METHODS FOR APPLYING THOSE PROCEEDURES TO PERSONS SEEKING
ACCESS TO EVIDENCE FOR DNA TESTING. THE STATE PROVIDES A SUBSTANTIVE RIGHT TO
BE RELEASED ON A SUFFICIENTLY COMPELLING SHOWING OF NEW EVIDENCE THAT ESTABLISHES
INNOCENCE. IT ALSO PROVIDES FOR DISCOVERY IN POST-CONVICTION PROCEEDINGS, AND
HAS THROUGH JUDICIAL DECISION---SPECIFIED THAT SUCH DISCOVERY IS AVAILABLE TO
THOSE SEEKING ACCESS TO EVIDENCE FOR DNA TESTING. THESE PROCEEDURES ARE SIMILAR
TO THOSE PROVIDED BY FEDERAL LAW AND THE LAWS OF OTHER STATES, AND THEY SATISFY
DUE PROCESS. THE SAME IS TRUE FOR OSBORNE"S RELIANCE ON A CLAIMED FEDERAL RIGHT
TO BE RELEASED UPON PROOF OF "ACTUAL INNOCENCES" EVEN ASSUMING SUCH A RIGHT
EXIST, WHICH THE COURT HAS NOT DECIDED AND DOES NOT DECIDE, THERE IS NO DUE
PROCESS PROBLEM, GIVEN THE PROCEEDURES AVAILABLE TO ACCESS EVIDENCE FOR DNA
TESTING,

THE COURT REJECTS OSBORNE"S INVITATION TO RECOGNIZE A FREE STANDING, SUB-
-STANTIVE DUE PROCESS RIGHT TO DNA EVIDENCE UNTETHERED FROM THE LIBERTY INTEREST
HE HOPES TO VINDICATE WITH IT. IN THE CIRCUMSTANCES OF THIS CASE, THERE IS NO
SUCH RIGHT. GERNERALLY, THE COURT IS RELUCTANT TO EXPAND THE CONCEPT OF SUBSTANTIVE
DUE PROCESS BECAUSE GUIDEPOST FOR RESPONSIBLE DECISTONMAKING IN THIS UNCHARTED
AREA ARE SCARCE AND OPEN-ENDED. COLLINS VS. HARKER HEIGHTS, 503 u.s. 115,125,
112 S.CT. 1061, 117 L.ED. 2d 261. THERE IS NO LONG HISTORY OF A RIGHT OF ACCESS
TO STATE DNA TESTING THAT MIGHT PROVE INNOCENCE. THE MERE NOVELTY OF SUCH A
CLAIM IS REASON ENOUGH TO DOUBT THAT "SUBSTANTIVE DUE PROCESS" SUSTAINS IT.

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BENO VS - FLORES 507, oe S. 292,303,113 S.CT. 1439,123 L.ED. 2d 1. MOREOVER, TO
SUDDENLY CONSTIETUTIONALIZE THIS AREA WOULD SHORT-CIRCUIT WHAT HAS BEEN A PROMPT
AND CONSIDERED LEGISLATIVE RESPONSE BY CONGRESS AND THE STATES. IT WOULD SHIFT
TO THE FEDERAL JUDICIARY RESPONSIBILITY FOR DEVISING RULES GOVERNING DNA ACCESS
AND CREATING A NEW CONSTITUTIONAL CODE OF PROCEEDURES TO ANSWER THE. MYRIAD#4":..
QUESTIONS THAT WOULD ARRISE. THERE IS NO REASON TO SUPPOSE THAT FEDERAL COURTS
ANSWERS TO THOSE QUESTIONS WILL BE ANY BETTER THAN THOSE OF STATE COURTS AND
LEGISLATURES, AND GOOD REASON TO SUSPECT THE OPPOSITE. SEE,E.G., COLLINS SUPRA,
AT 125,112 S.CT. 1061,117 L.ED. 2d 261. 521 F.3d 1118, REVERSED AND REMANDED.
COUINSEL: KENNETH M. ROSENSTEIN ARGUED THE CAUSE FOR PETITIONER. NEAL K. KATYAL
ARGUED THE CAUSE FOR THE UNITED STATES, AS AMICAS CURIAE, BY SPECIAL LEAVE OF
COURT. PETER NEUFELD ARGED THE CAUSE FOR RESPONDANT. JUDGES: ROBERTS, C.J.,
DELIVERED THE OPINION OF THE COURT, IN WHICH SCALIA, KENNEDDY, THOMAS, AND ALITO,
JJ., JOINED.ALITO,J.,FILED A CONCURRING OPINION, IN WHICH KENNEDY,J. JOINED,

AND IN WHICH THOMAS,J., JOINED AS TO PART IT, POST, P.--.STEVENS, J., FILED A
DESSENDINGOPINION, IN WHICH GINSBURG AND BREYER, JJ. ,JOINED, AND IN WHICH SOUTER,
J., JOINED AS PART I, POST. P__.SOUTER, J., FILED A DESSENDINGOPINION,POST P.
OPINION BY ROBERTS. CHIEF JUSTICE ROBERTS DELIVERED THE OPINION OF THE COURT.
DNA TESTING HAS BEEN AN UNPARRALLELED ABILITY BOTH TO EXONERATE THE WRONGLY
CONVICTED AND TO IDENTIFY THE GUILTY. IT HAS THE POTENTIAL TO SIGNIFICANTLY
IMPROVE BOTH THE CRIMINAL JUSTICE SYSTEM AND POLICE INVESTIGATIVE PRACTICES.
THE FEDERAL GOVERNMENT AND THE STATES HAVE RECOGNIZED THIS, AND HAVE DEVELOPED
SPECIAL APPROACHES TO ENSURE THAT THIS EVIDENTIARY TOOL CAN BE EFFECTIVELY
INCORPOATED INTO ESTABLISHED CRIMINAL PROCEEDURE---USUALLY BUT NOT ALWAYS
THOUGH LEGISLATION. AGAINST THIS PROMPT AND CONCIDERED RESPONSE, THE RESPONDANT
» WILLIAM OSBORNE, PURPOSED A DIFFENT APPROACH: THE RECOGNITION OF A FREE
STANDING AND FAR REACHING CONSTITUTIONAL RIGHT OF ACCESS TO THIS NEW TYPE OF

EVIDENCE.

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THE NATURE OF WHAT HE SEEKS IS CONFIRMED BY HIS DECISION TO FILE THIS
LAWSUIT IN FERDERAL COURT UNDER 42 U.S.C.S § 1983, NOT WITH THE STATE CRIMINAL
JUSTICE SYSTEM. THIS APPROACH WOULD TAKE THE DEVELOPMENT OF RULES AND PROCEEDURES
IN THE AREA OUT OF THE HANDS OF LEGISLATURES AND STATE COURTS SHAPING POLICY
IN A FOCUSED MANNER AND TO TURN IT OVER TO FEDERAL COURTS ‘APPLYING THE BROAD

PARIMITERS OF THE DUE PROCESS CLAUS. THERE IS NO REASON TO CONSTITUTIONALIZE
THE ISSUE IN THIS WAY. BECAUSE THE DESISION BELOW WOULD DO JUST THAT, WE REVERSE.

THAT TASK BELONGS PRIMARILY TO THE LEGISLATURE,[T]JHE STATES ARE CURRENTLY
ENGAGING IN SERIOUS, THOUGHTFUL EXAMINATIONS." WASHINGTON VS. GLUCKSBURG, 521 u.s.
702,719,117 S.CT. 2302, 138 L.ED. 2d 772(1997), OF HOW TO ENSURE THE FAIR AND
EFFECTIVE USE OF THIS TESTING WITHIN THE EXISTING CRIMINAL JUSTICE FRAMEWORK.
FOURTY SIX STATES HAVE ALREADY ENACTED STATUTES DEALING SPECIFICALLY WITH ACCESS
TO DNA EVIDENCE. SEE GENERALLY BREIF FOR STATE OF CALIFORNIA ET AL. AS AMICI
CURIAE 3-13; GARREIT, CLAIMING INNOCENCE, 92 MINN. L. REV. 1629, 1719 (2008)
(SURVEYING STATE STATUTES); SEE ALSO AN ACT TO IMPROVE THE PRESERVATION AND
ACCESSIBILITY OF BIOLOGICAL EVIDENCE, MISSISSIPPI S. 2709 (ENACTED MARCH 16,2009)
3ACT TO PROVIDE FOR DNA TESTING FOR CERTAIN INMATES FOR THE PURPOSES OF DETER-
-MINING WHETHER"THEY MAY HAVE BEEN WRONGFULLY CONVICTED", SOUTH DAKOTA H.R.

1166 (ENACTED MARCH 11, 2009) THE STATE OF ALASKA ITSELF IS CONSIDERING JOINING
THEM. SEE AND ACT RELATING TO POST-CONVICTION DNA TESTING, H 174,26th LEG.,

1ST SESS .(2009)(PROPOSED LEGISLATION SIMILAR TO THAT ENACTED BY THE STATES.)

THE FEDERAL GOVERNMWENT HAS ALSO PASSED THE INNOCENCE PROJECT ACT OF 2004, 8
411,118 STAT. 2278, CODEFIED IN PART AT 18 U.S.C. 83600 WHICH ALLOWS FEDERAL
PRISONERS TO MOVE FOR COURT ORDERED DNA TESTING UNDER CERTAIN SPECIFIED CONDITIONS.
THE ACT ALSO GRANTED MONEY TO STATES THAT ENACT COMPARABLE STATUTES, 8 413,118,

STAT. 2285, NOTE FOLLOWING 42 U.S.C. 8 14136, AND AS A CONSEQUENCE HAS SERVED

AS A MODEL FOR SOME STATE LEGISLATION.

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AT ORAL ARGUEMENT ,OSBORNE AGREED TO THE FEDERAL STATUTE IS SERVED AS A MODEL
FOR HOW STATES OUGHT TO HANDLE THE ISSUE. TR. OF ORAL ARG. 33,38-39;SEE ALSO
BRIEF FOR UNITED STATES AS AMICUS CURIAE 19-26 ( DEFENDING CONSTITUTIONALITY

OF INNOCENCT PROTECTION ACT.)

FIRST,ACCESS TO EVIDENCE IS AVAILABLE UNDER ALASKA LAW FOR THOSE WHO SEFK
TO SUBJECT IT TO NEWLY AVAILABLE DNA TESTING THAT WILL PROVE THEM TO BE ACTUALLY
INNOCENT. UNDER THE STATE'S GENERAL POST-CONVICTION RELIEF STATUTE, A PRISONER

MAY CHALLENGE HIS CONVICTION WHEN "THERE EXISTS EVIDENCE OF MATERTAT. FACTS,
NOT PREVIOUSLY PRESENTED AND HEARD BY THE COURT, THAT REQUIRES VACATION OF THE
CONVICTION OR SENTENCE IN THE INTEREST OF JUSTICE."ALASKA STAT. g 12.72.010 (4)
(2008) .SUCH A CLAIM IS EXEMPT FROM OTHERWISE APPLICABLE TIME LIMITS TF "NEWLY
DISCOVERED EVIDENCE" PURSUED WITH DUE DELIGENCE", ESTABLISHES BY CLEAR AND CON-
-VINCING EVIDENCE THAT THE APPLICANT IS INNOCENT. § 12.72.020(b)(2).

BOTH PARTIES AGREE THAT UNDER THESE PROVISIONS OF 8 12.72,"A DEFENDANT
IS ENTITLED TO POST-CONVICTION-RELIEF IF THE DEFENDANT PRESENTS NEWLY DISCOVERED
EVIDENCE THAT THE DEFENDANT IS INNOCENT. SEE PATTERSON, SUPRA,2006 ALAS.APP.
LEXIS 43,[WL] AT *4 ("IF PATTERSON HAD BOUGHT THE DNA ANALYSIS REQUEST AS PART
OF HIS PREVIOUS APPLICATION FOR [POST-CONVICTION] RELIEF...HE WOULD HAVE BEEN
ABLE TO REQUEST PRODUCTION OF EVIDENCE. )

IN ADDITION TO THIS STATUTORY PROCEEDURE THE ALASKA COURT OF APPEALS HAS
INVOKED A WIDELY ACCEPTED THREE-PART TEST TO GOVERN ADDITIONAL RIGHTS TO DNA
ACCESS UNDER THE STATE CONSTITUTION. OSBORNE II,163 P3d, AT 974-975.

AT ORAL ARGUMENT, ‘OSBORNE’ AGREED THAT THE FEDERAL STATUTE IS A MODEL FOR
HOW STATES HANDLE THE ISSUE. TR. OF ORAL ARG. 33,38-39;SEE ALSO BRIEF FOR
UNITED STATES AS AMICUS CURIAE 19-26 (DEFENDING CONSTITUTIONALITY OF INNOCENCE

PROTECTION ACT. )
THESE LAWS RECOGNIZE THE VALUE OF DNA EVIDENCE BUT ALSO THE NEED FOR

ae CONDITIONS ON aeeis> TO THE STATE'S EVIDENCE. A REQUIREMENT OF DEM-

= Se —

“ONSTATING: “MATER TALETY ‘Ts ‘COMMON ,E.G., 18 U.S.C. 8 3600 (a)(8),

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BUT IT IS NOT THE ONLY ONE. THE FEDERAL STATUTE, FOR EXAMPLE, REQUIRES A
SWORN STATEMENT THAT THE APPLICANT IS INNOCENT. § 3600(a)(1).

THIS REQUIREMENT IS REPLICATED IN SEVERAL STATE STATUTE, E.G.,CAL. PENAL
CODE ANN. 88 1405 (b)(1),(c)(1) (WEST SUPP. 2009): FLA. STAT. §925.11 (2)(a)(3)
(2007): N.H. REV. STAT. ANN. 8 651-D:2 (1)(b) (WEST 2007); S.C.CODE ANN. 8 17
-28-40 (SUPP.2008). STATES ALSO IMPOSE A RANGE OF DILIGENCE REQUIREMENTS.
SEVERAL REQUIRE THE REQUESTED TESTING TO"HAVE BEEN TECHNOLOGALLY IMPOSSIBLE
AT TRIAL". GARRETT, SUPRA AT 1681, AND n. 242. OTHERS DENY TESTING TO THOSE
WHO DECLINED TESTING AT TRIAL FOR TACTICAL REASONS. E.G.,UTAH CODE ANN. 8 78b-301
(4)(LEXIS 2008). ALASKA IS ONE OF A HANDFUL OF STATES YET TO ENACT LEGISLATION
SPECIFICALLY ADDRESSING THE ISSUE OF EVIDENCE REQUESTING FOR DNA TESTING. BUT
THAT DOES NOT MEAN THAT SUCH EVIDENCE IS UNAVAILABLE FOR THOSE SEFKING TO PROVE
THEER INNOCENCE. INSTEAD, ALASKA COURTS ARE ADDRESSING HOW TO APPLY EXISTING
LAWS FOR DISCOVERY AND POST-CONVICTION-RELIEF TO THOSE TECHNOLOGY. SFE OSBORNE
T,110-P3d,-at 992-993; PATTERSON VS. STATE, NO. A-8814,2006 ALAS.APP. LEXIS 43,
2006 WL 573 797,%*4 (ALASKA APP., MARCH 8,2006). THE SAME IS TRUE WITH RESPECT
TO OTHER STATES THAT DO NOT HAVE DNA-SPECIFIED STATUTES.E.G.,FAGAN VS. STATE
957.
DRAWING:-ON-""ITHESEXPERIANCE WITH DNA EVIDENCE OF STATE SUPREME COURTS AROUND
THE COUNTRY, THE COURT OF APPEALS EXPLAINED THAT IT WAS "RELUCTANT TO HOLD THAT
ALASKA LAW OFFERS NO REMEDY TO DEFENDANTS WHO COULD PROVE THIER FACTUAL INNOCENCE.
OSBORNE 1,110 P3d, at 995;[**2318] SFE ID., AT 995,n. 27 (CITING DECISIONS
FROM OTHER STATES)"IT WAS PREPARED TO HOLD; HOWEVER, THAT A DEFENDANT WHO "
"PREPARED TO HOLD, HOWEVER,THAT A DEFENDANT WHO SEEKS POST-CONVICTION DNA
TESTING... MUST SHOW (1) THAT THE CONVICTION REST PRIMARILY ON EYE WITNESS
IDENTIFICATION EVIDENCE, (2) THAT THERE WAS A DEMONSTRATIVE DOUBT CONCERNING

THE DEFENDANTS IDENTIFICATION AS THE PERPATRATOR, AND (3) THAT SCIENTIFIC TEST-
-ING WOULD LIKELY BE CONCLUSIVE ON THIS ISSUE."", ID., AT 95. THUS ALASKA COURTS

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HAVE SUGGESTED THAT EVEN THOSE WHO DO ‘NOT GET DISCOVERY UNDER THE STATES CRIM-5

~INAL RULES HAVE AVAILABLE TO THEM A SAFETY VALVE UNDER THE STATE CONSTITUTION.

THIS IS THE BACKGROUND AGAINST WHICH THE FEDERAL COURT OR APPEALS ORDERED THE

STATE TO TURN OVER THE DNA EVIDENCE IN ITS POSSESSION, AND IT IS OUR STARTING

POINT IN ANYLIZING OSBORNE"S CONSTITUTIONAL CLAIMS. THE PARTIES DISPUTE WHETHER
OSBORNE HAS INVOKED SUED UNDER HN2*[2] THE FEDERAL CIVIL RIGHTS STATUTE, 42 U.S.C.S.
8 1983, WHICH GIVES CAUSE OF ACTION TO THOSE WHO CHALLENCE A STATE'S" DEPIVA-

~TION OF ANY RIGHTS...SECURED BY THE CONSTITUTION". THE STATE INSIST THAT OSBORNE
CLAIM MUST BE BOUGHT UNDER 28U.S.C.S. § 2254, WHICH ALLOWS THE PRISONER TO

SEEK" A WRIT OF HABEAS CORPUS...ON THE GROUND THAT HE IS IN COSTODY IN VIOLATION

OF THE CONSTITUTION.
D.A."S OFFICE VS. OSBORNE, 577 U.S. 52 SUPREME COURT OF THE UNITED STATES ,

MARCH 2,2009, ARGUED:JUNE 18,2009,DECIDED-NO. 08-6 REPORTER 557 U.S. 52* 129
S.CT. 2308%174 L.ED. 2d 38%©*2009 u.s. LEXIS 453677 U.S.L.W. 4498 21 FLA.
WEEKLY FED. S, 945. DISTRICT ATTORNEY'S OFFICE VS. WILLIAM G. OSBORNE.

THE REASON FOR MY [CHARLES B. HENRY,COMPLAINANT] USINGCTHIS CASE
IS:BECAUSE ALL DEFENDANTS HAVE A RIGHT TO BE PROPERLY REPRESENTED IN STATE
COURT"'S CONCERNING DNA EVIDENCE. MY COURT APPOINTED ATTORNEY DID NOT USE ‘THE
DNA EVIDENCE PROPERLY IN MY CASE. WITH THE DNA EVIDENCE AND THE RECANTATTON
OF THE ALLEGED VICTIM IN MY CASE IF PROPERLY ARGUED WITH THE COURTS COULD HAVE
EXONERATED ME. INEFFECTIVE ASSISTANCE OF COUNSEL IS VERY STRONG ON MY CASE
[CHARLES B. HENRY], THE DNA TEST RESULTS IN MY CASE WERE GIVEN TO ME BY COUNSEL
PRIOR TO TRIAL, AND THEN SHE WAS GRANTED JUDICIALSHIP WITH THE FAIRBANKS COURT
SYSTEM. I WAS THEN APPOINTED NEW COUNSEL WHO DID NOTHING FOR ME. I, CHARLES B.
HENRY TRIED NUMEROUS TIMES TO HAVE MY BROTHER TESTIFY THAT THE ALLECED VICTIM
WAS DOWNSTAIRS WITH US LISTENING TO MY BROTHER PLAY HIS GUITAR. I FILED A
POST CONVICTION RELIEF ON MY BEHALF WHEN MY COURT APPOINTED ATTORNEY HAD ARGUED

A 28 YEAR OLD CASE INSTEAD OF THE CASE THAT I AM ARGUING NOW. ALL DOCUMENTS

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THAT I FILED WITH THE STATE COURTS HAVE BEEN TAKEN AWAY FROM ME.
INCLUDING A FEDERAL HABEAS CORPUS FILED WITH THIS COURT. ,CASE #
4:15-cv-00025-SLG, FILED ON 11-30-15.,IN WHICH DNA TEST RESULTS
STATED THAT " NO CONCLUSION CAN BE MADE DUE TO INSUFFICIENT DNA "
[COPY ENCLOSED]. THESE DOCUMENTS WERE NOT ARGUED PROPERLY BY THE
COURTS OF ALASKA. NO SPERMATOZA OR SEMEN WAS FOUND WITHIN THE
ALLEGED VICTIM'S PRIVATE PARTS. ALTHOUGH SPERMATOZA WAS FOUND ON
HER JEANS, IT DOES NOT SHOW THAT A CRIME WAS COMMITTED WHEN INFACT
THE ALLEGED VICTIM TESTIFIED THAT SHE WANTED TO STAY IN BED BECAUSE
SHE WAS TIRED. HER AND HER BOYFRIEND SLEPT IN MY BEDROOM AT THAT
TIME. WHEN IN FACT My BROTHER AND HIS FAMILY COULD TESTIFY THAT

THE ALLEGED VICTIM WAS DOWNSTAIRS WITH US.
PLAINTIFF CHARLES B. HENRY WAS SENTENCED BY THE HONORABLE

PAUL LYLE, TRIAL JUDGE IN THIS MATTER., JUDGE LYLE STATED DURING
SENTENCING THAT THE ALLEGED VICTIM L.P. HAD RECANTED HER STORY.
PLAINTIFF'S ATTORNEY DID NOT ARGUE THAT HER RECANTED TESTIMONY
WAS GROUNDS FOR A NEW TRIAL.,UNDER NEWLY DISCOVERED EVIDENCE. THE
STATE PROSECUTOR"S DID NOT ARGUE THIS MATTER. ALSO DURING SENTENCING
JUDGE PAUL LYLE ASK THAT THE JURY COULD DROP THIS CASE TO A FOURTH
DEGREE ASSAULT, A LESSER INCLUDED OFFENSE. THE JURY THEN DELIBERATED ,
MINUTES BEFORE DELIBERATION. THE JURY VERDICT WAS GUILTY ON COUNT
ONE [SEXUAL ASSAULT IN THE FIRST DEGREE] AS TO THE FOURTH DEGREE
ASSAULT THE JURY FOUND ME GUILTY OF THE ADDED FOURTH DEGREE MINUTES
BEFORE JURY DELIBERATION. JUDGE LYLE HAD CITED UNITED STATES Vs.
JONES, STATING THAT THE JURY COULD NOT CHARGE ME WITH FOURTH DEGREE
ASSAULT IN VIOLATION OF MY DUE PROCESS CLAUS TO THE CONSTITUTION.
DURING SENTENCING MONTHS LATER PLAINTIFF TOLD JUDGE LYLE

THAT THE FOURTH DEGREE ASSAULT CHARGE ADDED WAS IN VIOLATION OF MY

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IONAL CENTER

CHARLES B. HENRY 39051
22301 W. ALSOP ROAD
WASILLA, ALASKA -99623-

GOOSE CREEK CORRECT

CONSTITUTIONAL RIGHT TO DUE PROCESS. COMPLAINANT CHARLES B. HENRY
WAS THEN GIVEN THE OPPORTUNITY TO FILE A POST CONVICTION RELIEF.

AN ATTORNEY FROM BOSTON, MASSACHUSETTS WAS APPOINTED COUNSEL FOR

THE COMPLAINANT. THE COUNSELOR HAD FILED A PETITION FOR A CASE THAT
WAS 28 YEARS OLD,AND HAD FILED IT WITH THE COURTS (ALASKA) IN THE
ANCHORAGE DISTRICT. ,WHEN INFACT THIS CASE IS A FAIRBANKS, ALASKA
CASE AND THAT THE LAWYER FILED IN A DIFFERENT JURISDICTION. ,AND THAT
HE HAD ARGUED AT 1990 CASE WHEN IN FACT THE STATUTE OF LIMITATION
FOR THAT CASE WAS WELL PAST ITS STAGE. I HAD FILED A INEFFECTIVE
ASSISTANCE OF COUNSEL WITH THE COURTS IN FAIRBANKS, ALASKA IN WHICH

THIS CASE IS ORIGINATED AT.
FURTHERMORE CHARLES B. HENRY HAD TRIED NUMEROUS TIMES A+TRIAL

THAT THE PERSON D.R. WAS NOT THE PERSON WHO WAS NOT AT MY HOUSE.
ALTHOUGH D.R. TESTIFIED THAT THE ALLEGED VICTIM WAS JUST BEING JEAL-
-OUS, I HAVE NEVER SEEN HER BEFORE IN MY LIFE. THE PERSON D.M. WAS
AT MY HOUSE, NOT D.R., THEY BOTH HAVE THE FIRST SAME NAME. PRIOR TO
TRIAL I WAS APPOINTED A PUBLIC DEFENDER SUSAN CARNEY WHO GAVE ME THE
DNA TEST RESULTS PRIOR TO HER JUDGESHIP. I HAD TOLD HER ABOUT D.M.
ABOUT HER BEING AT MY HOUSE AND THAT SHE COULD BE FOUND NEAR THE PARK
THAT CLOSE TO THE COURTHOUSE. MS. CARNEY HAD TALKED WITH D.M. AND
D.M. TOLD HER THAT SHE DID NOT WANT TO TESTIFY BECAUSE OF THE PUBLIC-
-ITY, AND THAT IT WAS TO EMBARRASSING FOR HER.

DURING THE STATE TROOPER"S INTER@GATION OF ME AT MY RESIDENCE
MY BROTHER BENJAMIN ELI HENRY SR. COULD BE HEARD IN THE TAPE INTER-
-VIEW. I HAD ASKED HIM WHAT WAS GOING ON, I WAS NOT TOLD WHY I WAS
BEING QUESTIONED BY TROOPER CHING WHO LATER GOT LAID OFF BECAUSE

OF® BEING UNTRUTHFUL. JUDGE LYLE TOLD TR. CHING TO BE TRUTHFUL.
MY BROTHER IS A WITNESS TO THESE FALSE CHARGES, I AM INNOCENT OF

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GOOSE CREEK CORRECTIONAL CENTER
22301 W. ALSOP ROAD
-99623-

CHARLES B. HENRY 39051

WASILLA, ALASKA

THESE FALSE CHARGES AND THE DNA RESULTS PLUS THE RECANTED STATE-
-MENTS MADE BY THE ALLEGED VICTIM L.P.,AS STATED BY JUDGE LYLE
SHOW THAT NO CRIME WAS COMMITED IN THE FIRST PLACE. THE ALLEGED
VICTIM WAS FOUND GUILTY OF LYING IN COURT WHE SHE FALSLY ACCUSED
ANOTHER PERSON OF SEXUAL ASSAULT. THIS PERSON WAS WILLING TO TEST-
-SIFY AT MY TRIAL, BUT MY LAWYER WOULD NOT ALLOW IT. MY RIGHT TO
DUE PROCESS AND THE EFFECTIVE ASSISTANCE OF COUNSEL WERE VIOLATED
BY THE STATE COURTS.

I AM ASKING FOR FIVE (5) MILLION DOLLARS FOR THE VIOLATION OF
MY DUE PROCESS RIGHTS. ALSO THE FOURTH DEGREE WHICH WAS ADDED PRIOR
TO JURY DELIBERATION WHICH WAS ADDED TO THE CASE VIOLATED MY RIGHTS
TO DUE PROCESS OF LAW. I WAS FOUND GUILTY OF THE ADDED CHARGE BY
THE STATE OF ALASKA.,MINUTES BEFORE DELIBERATION. NO COMLAINT, NO
COURT HEARING, NO ARRAINMENT,JUST ADDED. I AM SEEKING A 1.5 MILLION
DOLLAR SETTLEMENT ON THE ADDED CHARGE.

FURTHERMORE {. ASK THAT THIS COURT APPOINT COUNSEL AND ACCEPT
THIS 42 U.S.C.S § 1983, I AM INDIGENT AN ENCLOSE A OFFENDER"S TRUST
ACCOUNT ON MY INCOME. I ASK THAT THIS COVER THE FILING FEE FOR .
DOCUMENTS ENCLOSED.

THIS. CASE WAS..INVESTIGATED, SOMETIME IN 2012,NO.GHARGES :- WERE

FILED. UNTIL: 2014, AND: ONLY- ONE COUNT WAS FILED WITH=THE:STATE COURT.
TRIAL WAS SOMETIME*IN: 2015: ANDSSENTENCING WAS.2016 I. BELIEVES <AGAIN
I SAY THAT THE DEPARTMENT OF CORRECTION HAD TAKEN ALL MY DOCUMENTS

CONCERNING THIS CASE.

RO hy»,

SIGNED AND DATED THIS 2 &2y,G DAY OF OCTOBER, 2018. SS 2
¢ Dvr x. © : Wo Win wr. 3 i Mone : =
CHARLES B. HENRY \ A ot, me
| b, LAs un ALE
i Un oh 1CZ—— : - SOF f IS RY

MY COMMISSION EXPTR: S ON
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